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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1460V
                                        UNPUBLISHED


    ERNEST ROBIRTS, Administrator of                        Chief Special Master Corcoran
    the ESTATE OF HARRIET ROBIRTS,
    Deceased,                                               Filed: October 4, 2021

                        Petitioner,                         Special Processing Unit (SPU);
    v.                                                      Ruling on Entitlement; Concession;
                                                            Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                 Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                         Administration (SIRVA)

                       Respondent.


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On September 23, 2019, Ernest Robirts, Administrator of the Estate of Harriet
Robirts, Deceased, filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”). Petitioner
alleges that Harriet Robirts suffered left shoulder injuries related to vaccine administration
as a result of an influenza vaccine administered on September 26, 2017. Petition at 1-3.
Petitioner further alleges the vaccine was administered in the United States, Ms. Robirts’
injuries and sequelae lasted more than six months, and neither Petitioner nor any other
party had filed an action or received compensation in the form of an award or settlement


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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for Ms. Robirts’ vaccine-related injuries. Petition at ¶¶ 3, 13-15. The case was assigned
to the Special Processing Unit of the Office of Special Masters.

       On October 1, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that Ms. Robirts had no apparent history of pain,
inflammation, or dysfunction of the affected shoulder prior to intramuscular vaccine
administration that would explain the alleged signs, symptoms, examination findings
and/or diagnostic studies occurring after vaccine injection; she more likely than not
suffered the onset of pain within forty-eight hours of vaccine administration; her pain and
reduced range of motion were limited to the shoulder in which the intramuscular vaccine
was administered; and there is no other condition or abnormality present that would
explain Ms. Robirts’ symptoms. Id. at 4-5. Respondent further agrees that the case was
timely filed, the vaccine was received in the United States, and that Ms. Robirts suffered
the residual effects or complications of here injury for more than six months after vaccine
administration. Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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